Case 2:18-cv-10931-PDB-DRG ECF No. 15 filed 06/19/18        PageID.41   Page 1 of 2




                     UNITED STATES OF AMERICA
       U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

BUSINESS HEALTH SOLUTIONS, P.C.
                                             Case No.: 2:18-cv-10931-PDB-DRG
       Plaintiff,

                                             Hon. Paul D. Borman
                                             Magistrate Judge David R. Grand
-vs-


FIRST ADVANTAGE CORP.,
FORMFOX, INC. and JOHN DOES 1-10,

       Defendants.

       STIPULATED ORDER OF DISMISSAL WITHOUT PREJUDICE

       This matter having come before the Court and the Court being otherwise fully

advised in the premises;

       WHEREAS, pursuant to Fed R. Civ. Proc. 41(a)(1)(A)(ii), the parties, via

their respective counsel, request dismissal of plaintiff’s individual claims without

prejudice and without costs, and the dismissal of the claims of any putative class

member without prejudice and without costs.

IT IS SO ORDERED.

DATED:        June 19, 2018                  s/Paul D. Borman
                                             PAUL D. BORMAN
                                             UNITED STATES DISTRICT JUDGE

        
Case 2:18-cv-10931-PDB-DRG ECF No. 15 filed 06/19/18   PageID.42   Page 2 of 2




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